        Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 1 of 13



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                       Criminal No. 21-cr-507 (PLF)
      -v-
STEPHANIE MARYLOU BAEZ,
             Defendant.                 DEFENDANT’S MOTION TO DISMISS
                                        ON FIRST AMENDMENT GROUNDS



      COMES NOW, Stephanie Marylou Baez (“Baez”), by and through counsel, with

this Motion to dismiss all counts of the indictment, on 1st amendment grounds.

I.    INTRODUCTION
      Of all the places in America, the U.S. Capitol must be the most accessible to

the citizenry.   Conversely, the Capitol is perhaps the place in America where

government has the least authority to restrict citizen presence, petitioning,

demonstrating, and activism. The First Amendment explicitly states that “Congress

shall make no law” restricting free speech, peaceably assembling or interfering with

the right to petition government for redress of grievances. Thus, Congress is subject

to the control and correction of the public according to the plain text of the

Constitution.    See, e.g., Lederman v. United States, 291 F.3d 36 (DC Cir. 2002)

(striking down a regulation banning leafleting and other “demonstration activities”

on the sidewalk at the foot of the House and Senate steps on the East Front of the

Capitol). The Lederman Court found that sidewalks around the Capitol are a public

forum, and that a regulation banning leafleting and other “demonstration activities”

at the foot of the House and Senate steps on the east side of the Capitol is

unconstitutional.
        Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 2 of 13



      In Count One, Baez is accused of “knowingly enter[ing] and remain[ing] in the

United States Capitol, a restricted building, without lawful authority to do so, in

violation of 18 U.S.C. § 1752(a)(1)).” But there is no law of Congress which makes

the Capitol a restricted building. (Nor could Congress lawfully restrict the Capitol in

such a way, as they have no constitutional authority to “make [any] law . . . abridging

the freedom of speech, . . . or the right of the people peaceably to assemble, and to

petition the Government for a redress of grievances.”) Section 1752(a) does not

proclaim that the Capitol is a “restricted” building.

      In fact, generally speaking, the Capitol is open to the public during normal

business hours. Prior to January 6, the official website explicitly informed visitors

that “The Capitol Visitor Center, the main entrance to the U.S. Capitol, is located

beneath the East Front plaza . . . . The Capitol Visitor Center is open to visitors from

8:30 a.m. to 4:30 p.m. Monday through Saturday . . .”
Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 3 of 13
         Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 4 of 13



       It is simply not possible for the government to lawfully convict Baez of

 “enter[ing] and remain[ing] in the United States Capitol, a restricted building,

 without lawful authority to do so,” when (a) the Capitol’s official signage and websites

 proclaim the building is open to the public, and (b) Baez has a constitutional right,

 under the 1st amendment, to monitor, watch, advocate, petition, and protest

 regarding the work of representatives and officials inside the building.

       Indeed, it can be argued that Baez has a civic duty to monitor, observe, watch,

 and (try to) influence the goings-on inside the Capitol.

       Although Baez’s right and duty to watch and monitor doings inside the Capitol

 may be subject to reasonable time, place, and manner restrictions, the government

 cannot prevent Baez from exercising her constitutional rights and duties. Baez’ right

 to enter the Capitol is not subject to the permission, will, or discretion of the

 government. Cf., inter alia, Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622 (1994);

 Ward v. Rock Against Racism, 491 U.S. 781 (1989); Weinberg v. City of Chicago, 310

 F.3d 1029 (7th Cir. 2002); Bay Area Peace Navy v. United States, 914 F.2d 1224 (9th

 Cir. 1990); A Quaker Action Group v. Hickel, 137 U.S. App. D.C. 176, 421 F.2d 1111

 (D.C. Dir. 1969).

       Given these principles, Count One does not state an offense under federal law

 upon which any relief can be granted; and must be dismissed pursuant to Rule 12(b)

 of the Federal Rules of Criminal Procedure.

II.    COUNTS TWO AND THREE ARE ALSO UNCONSTITUTIONAL, AS
       PEOPLE HAVE A FIRST AMENDMENT RIGHT TO “IMPEDE AND
       DISRUPT” “THE ORDERLY CONDUCT OF GOVERNMENT” BY
       FIRST AMENDMENT PROTECTED EXPRESSION AND ADVOCACY.
        Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 5 of 13



      Count 2 alleges that Baez “knowingly, and with intent to impede and disrupt

the orderly conduct of Government business and official functions, engaged in

disorderly and disruptive conduct in, and within such proximity to the United States

Capitol, a restricted building, when, and so that, such conduct did in fact impede and

disrupt the orderly conduct of Government business and official functions” in

violation of 18 U.S.C. § 1752(a)(2)).

      Count 3 is essentially a repeat of Count 2. It alleges that on January 6, Baez

“did willfully and knowingly engage in disorderly and disruptive conduct at any place

in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt,

or disturb the orderly conduct of a session of Congress . . .” in violation of 40 U.S.C. §

5104(e)(2)(D)).

      Both these counts must be dismissed because they conflict with Baez’s rights

and duties under the 1st amendment to speak freely, assemble with others, and

petition for redress of grievances at the U.S. Capitol.

      A person's speech or petitioning activity is not removed from the ambit of First

Amendment protection simply because it advocates an unlawful act. White v. Lee, 227

F.3d 1214, 1228 (9th Cir. 2000). The First Amendment does not permit government

“to forbid or proscribe advocacy of the use of force or of law violation except where

such advocacy is directed to inciting or producing imminent lawless action and is

likely to incite or produce such action.” Brandenburg v. Ohio, 395 U.S. 444, 447

(1969); see also NAACP v. Claiborne Hardware Co., 458 U.S. 886, 928 (1982); Noto v.

United States, 367 U.S. 290, 291 (1961); Yates v. United States, 354 U.S. 298, 318

(1957), overruled in part on other grounds by, Burks v. United States, 437 U.S. 1, 7,
        Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 6 of 13



12 (1978). Advocacy is unprotected only if it is “intended to produce, and likely to

produce, imminent disorder”; “advocacy of illegal action at some indefinite future

time” is not actionable. Hess v. Indiana, 414 U.S. 105, 108-09 (1973).

      It is clear that the term “advocacy,” as used in Brandenburg, encompasses not

only freedom of speech, but the other rights of expression guaranteed by the First

Amendment as well. Brandenburg specifically held that “statutes affecting the right

of assembly, like those touching on freedom of speech, must observe the established

distinctions between mere advocacy and incitement to imminent lawless action.” 395

U.S. at 449 n.4. See also Communist Party of Indiana v. Whitcomb, 414 U.S. 441, 448-

50 (1974) (applying Brandenburg principles to state regulation of access to the ballot).

The Supreme Court has also explained that the right to petition is “inseparable” from

and “was inspired by the same ideals of liberty and democracy that gave us the

freedoms to speak, publish, and assemble.” McDonald v. Smith, 472 U.S. 479, 485

(1985) (citations omitted).

      Thus, even if Baez knowingly intended “to impede and disrupt the orderly

conduct of Government business and official functions” at the Capitol, she had a right

to walk inside the Capitol, express her opinions and communicate her grievances.

There is nothing sacrosanct about “orderly conduct of government business.”

Arbitrary and oppressive government power has been the norm rather than the

exception, and much of the federal government is out of control at all times. Cf., City

of Arlington v. FCC, 569 U.S. 290, 312-17 (2013) (Roberts, C.J., dissenting)

(describing the tendency of government agencies toward abuse and misconduct).
            Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 7 of 13



           Without some specific allegation of violent or lawless conduct by Baez, the

  government’s allegations in Count 2 fail to state a constitutional allegation.

  “Imminent lawless action,” as used in Brandenburg, means violence or physical

  disorder in the nature of a riot. Peaceful speech, even speech that urges civil

  disobedience, is fully protected by the First Amendment.” White, 227 F.3d at 1228.

  The First Amendment protects the right of every citizen to “reach the minds of willing

  listeners and to do so there must be opportunity to win their attention.” Kovacs v.

  Cooper, 336 U.S. 77, 87 (1949).

           Counts 2 and 3, like Count 1, simply do not state valid criminal claims in the

  context of people demonstrating and expressing their views at the U.S. Capitol in

  accordance with the 1st amendment. Accordingly, Counts 2 and 3 must also be

  dismissed.

III.       COUNT FOUR VIOLATES BAEZ’ FIRST AMENDMENT RIGHTS TO
           PARADE, DEMONSTRATE AND PICKET AT THE CAPITOL
           The final count in Baez’s indictment, Count 4, also violates the Constitution.

  Count 4 alleges that “On or about January 6, 2021, [Baez] did willfully and knowingly

  parade, demonstrate, or picket in any of the Capitol Buildings” in violation of 40

  U.S.C. § 5104(e)(2)(G)).

           Parading, demonstrating and picketing for redress of grievances is the

  birthright of every American. ‘[D]emonstrate’ has been defined by the Supreme Court

  as “to make a public display of sentiment for or against a person or cause” and “picket”

  as an effort “to persuade or otherwise influence”). Hill v. Colo., 530 U.S. 703, 721-22

  (2000)    (quoting   Webster's    Third   New   International   Dictionary).   The   no-
        Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 8 of 13



demonstration and no-picketing zone established by 40 U.S.C. § 5104(e)(2)(G)) in the

entirety of a 1.5-million-square-foot building is the largest infringement on basic 1st

amendment rights ever imposed anywhere in the United States.

      Baez’s indictment is aimed at chilling Baez’s (and millions of others)’ right to

petition and speak against perceived government abuses at the Capitol.              The

government seeks to insulate congressional representatives, staff, officials and

attendees from receiving the messages of Baez and other protestors and petitioners.

Such efforts by the government are undeniably unconstitutional. See, e.g., Gresham

v. Peterson, 225 F.3d 899 (7th Cir. 2000).

      Under the First amendment, “free speech zones” are presumptively invalid

everywhere. However, there are a tiny few temporary instances and secure spaces

where courts have allowed limited restrictions on picketing and demonstration.

Never, however, has any court allowed the government to silence and censor all

petitioning and protesting in such a vast radius as the government seeks here.

       A number of cases have recognized that certain officials or facilities are so

highly-sensitive or protected that protestors can be confined to “free speech zones” at

a given distance away. How far away, exactly? In Madsen v. Women's Health Ctr.,

512 U.S. 753 (1994), the Supreme Court determined that a 300-foot buffer between

protesters and the entrance to an abortion clinic was too great a restriction on speech,

however, a thirty-six-foot buffer was acceptable. Id. at 771. The Court reasoned that

“citizens must tolerate insulting, and even outrageous, speech in order to provide

adequate breathing space to freedoms protected by the First Amendment.” Id. at 774.
        Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 9 of 13



      The late Judge Larry McKinney of the U.S. Southern District of Indiana dealt

with a similar case involving a protestor who picketed a speech by Vice President

Dick Cheney in 2002. Blair v. City of Evansville, 361 F. Supp. 2d 846 (S.D. Ind. 2005).

Blair was arrested for “disorderly conduct” while merely holding a sign that stated

“Cheney 19th Century Energy Man” at an event in Evansville, Indiana. Blair later

sued arresting officers, and the court held that “the restriction of protesters to an area

500 feet away from the only entrance used by attendees, and on the opposite end of

the building from where Vice President Cheney would enter the facility and from

where the majority of people attending the event would park, burdened speech

substantially more than was necessary to further the [government’s] goals of safety.”

      Even more than in Blair, the expansive speech and picketing restrictions here

(effectively the entire 1.5 million square foot Capitol complex) are massively

overexpansive and not narrowly tailored to serve a significant government interest.

See United States v. Albertini, 472 U.S. 675, 689 (1985)). While the vice president and

Congress can and should be properly protected from danger, the First Amendment

requires that the vice president and Congress cannot be entirely insulated from

picketing and advocacy.

      Judge McKinney found that the restriction of protesters to an area 500 feet

away from the only entrance used by attendees, and on the opposite end of the

building from where Vice President Cheney would enter the facility and from where

the majority of people attending the event would park, burdened speech substantially

more than was necessary to further the goals of safety.
       Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 10 of 13



       Furthermore, other cases that have looked at restrictions on
       access to public buildings similar to the Centre have found a
       violation of the First Amendment on more narrow restrictions.
       See, e.g.,Kuba v. 1-A Agr. Ass'n, 387 F.3d 850, 861-62 (9th Cir.
       2004) (200 and 265 feet security zones found over broad); Bay
       Area Peace Navy v. United States, 914 F.2d 1224, 1229 (9th Cir.
       1990) (seventy-five yard security zone found over broad because
       it prevented demonstration from reaching intended audience);
       but see Madsen, 512 U.S. at 771 (holding that a thirty-six-foot
       buffer zone on public property was narrow enough).
Blair, 361 F. Supp. 2d at 858.

      Similarly to the 1,000-foot ban in Weinberg v. City of Chicago, 310 F.3d 1029,

1040 (7th Cir. 2002), Judge McKinney found that the location of the protest zone in

Blair “eliminated any meaningful avenue for the communication of ideas by the

protestors to at least one intended audience, the attendees.”

      Note that the government here is asserting that the entire U.S. Capitol—one

of the largest public buildings in the United States—is a no free speech and no

picketing zone. According to the Architect of the U.S. Capitol:

             As the nation has grown so has the U.S. Capitol : today
       it covers well over 1.5 million square feet, has over 600 rooms,
       and miles of corridors.
                               *    *    *      *
             Today, the U.S. Capitol covers a ground area of 175,170
       square feet, or about 4 acres, and has a floor area of
       approximately 16-1/2 acres. Its length, from north to south, is
       751 feet 4 inches; its greatest width, including approaches, is
       350 feet. Its height above the base line on the east front to the
       top of the Statue of Freedom is 288 feet.

       Architect of the Capitol, “The U.S. Capitol Building,”
(https://www.aoc.gov/explore-capitol-campus/buildings-grounds/capitol-
building) (accessed 8/14/2022).
       Significantly, some federal courts have already held that the West Front Lawn

is a traditional public forum where demonstrations must be allowed. See also, e.g.,
         Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 11 of 13



 Lederman, 291 F.3d at 44.          In Lederman, the D.C. Circuit declared facially

 unconstitutional a “regulation banning leafleting and other 'demonstration

 activit[ies]' on the sidewalk at the foot of the House and Senate steps on the East

 Front of the United States Capitol.” 291 F.3d at 39 (alterations in original). In finding

 that the law at issue in Lederman failed the narrow-tailoring analysis, the Court of

 Appeals cautioned that "the Constitution does not tolerate 'regulations that, while

 serving their purported aims, prohibit a wide range of activities that do not interfere

 with the Government's objectives.’” Id. at 44 (quoting Cmty. for Creative Non-Violence

 v. Kerrigan (CCNV), 865 F.2d 382, 390 (D.C. Cir. 1989)). Applying that principle, the

 panel concluded that the "ban's absolute nature" rendered the regulation not

 narrowly tailored, as “[s]ome banned activities" "cannot possibly" interfere "with the

 stated objectives of traffic control and safety.” Id. at 45.

IV.     CONCLUSION
        40 U.S.C. § 5104(e)(2)(G), which forbids “willfully and knowingly parad[ing],

 demonstrate[ing], or picket[ing] in any of the Capitol Buildings” is unconstitutional

 both on its face and as applied to the alleged conduct of defendant Baez. Baez is

 accused of nothing more than walking into the Capitol during normal business hours

 as part of a demonstration of expression regarding the fairness of the 2020

 presidential election. Baez has a First Amendment right to express her opinions in

 such a manner.

        For all the above-described reasons, the indictment in this case must be

 dismissed.
       Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 12 of 13



Dated: September 2, 2022                 Respectfully submitted,
                                         /s/ John M. Pierce
                                         John M. Pierce
                                         John Pierce Law, P.C.
                                         21550 Oxnard Street
                                         3d Floor, PMB 172
                                         Woodland Hills, CA 91367
                                         Tel: (213) 279-7846
                                         jpierce@johnpiercelaw.com


                                         Attorneys for Defendant
                                         Stephanie Marylou Baez
       Case 1:21-cr-00507-PLF Document 28 Filed 09/02/22 Page 13 of 13




                          CERTIFICATE OF SERVICE

      I hereby certify that, on September 2, 2022, this motion and the accompany

declaration was filed via the Court’s electronic filing system, which constitutes

service upon all counsel of record.

                                        /s/ John M. Pierce
                                        John M. Pierce
